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                                                                                                  FILED
                                                                                           October 16, 2024


                                                                                        CLERK, U.S. DISTRICT COURT
                         UNITED STATES DISTRICT COURT                              WESTERN DISTRICT OF TEXAS
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knowing he was an alien illeW llyST  EdRuNnlD
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                                 SSAaNnAANnTtOoNnIiOo DIVISION                                          Deputy
firearm, to wit, a Canik model TP9SF 9mm pistol, bearing serial number T6472-21 AT 08835, and
                                                                       Case No:           SA:24-CR-00522-OLG
 UNITED STATES OF AMERICA
        Plaintiff

                v.
                                                        INDICTMENT
 JOSE DAVID MOYA-MOYA

                                                        COUNT 1: 18 U.S.C. § 933(a)(3)
        Defendant                                       Firearms Trafficking

                                                        COUNT 2: 18 U.S.C. § 922(g)(5)
                                                        Alien    in   Possession   of a Firearm




THE GRAND JURY CHARGES:

                                           COUNT ONE
                                      [18 U.S.C. § 933(a)(3)]


                                                                                    Defendant,


                                  JOSE DAVID MOYA-MOYA,


did knowingly attempt to ship, transport, transfer, cause to be transported, and otherwise dispose


of any firearm, to wit, a Canik model TP9SF 9mm pistol, bearing serial number T6472-21 AT


08835, to another person in and affecting interstate or foreign commerce, knowing and having


reasonable cause to believe that the use, carrying, and possession of a firearm by the recipient


would constitute a felony, to wit, Robbery, in violation of Title 18, United States Code, Section


933(a)(3).


                                                     TWO
                                       [18 U.S.C. § 922(g)(5)]




                                 Jose David Moya-Moya
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knowing he was an alien illegally and unlawfully in the United States, did knowingly possess a


firearm, to wit, a Canik model TP9SF 9mm pistol, bearing serial number T6472-21 AT 08835, and


the firearm had traveled in interstate and foreign commerce, in violation of Title 18, United States

Code, Section 922(g)(5).


    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                                 I.
                          Firearm Violation and Forfeiture Statutes
[Title 18 U.S.C. § 933(a)(3), subject to forfeiture pursuant to Title 18 U.S.C. § 934(a)(1)(A)
and (B)]

       As a result of the criminal violation set forth in Count One, the United States of America

gives notice to the Defendant of its intent to seek the forfeiture of the property described below

upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 934(a)(1)(A) and (B),

which state:

       Title 18 U.S.C. § 934. Forfeiture and Fines.
       (a) Forfeiture. -­
           (1) In general. -- Any person convicted of a violation of section 932 or 933 shall forfeit
          to the United States, irrespective of any provision of State law--
                (A) any property constituting, or derived from, any proceeds the person obtained,
                directly or indirectly, as the result of such violation; and
                (B) any of the person's property used, or intended to be used, in any manner or part,
                to commit, or to facilitate the commission of, such violation . . .

                                             II.
                         Firearm Violations and Forfeiture Statutes
             [Title 18 U.S.C. §§ 922(g)(5), and 933(a)(3), subject to forfeiture
       pursuant to Title 18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture
                                by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violations set forth in Counts One through Two, the United

States of America gives notice to the Defendant of its intent to seek the forfeiture of the property

described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §


                                                 2
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924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states:

       Title 18 U.S.C. § 924. Penalties
           (d)(l) Any firearm or ammunition involved in or used in any knowing violation
           of subsection . . . (g)…of section 922 . . . or 933 . . . shall be subject to seizure
           and forfeiture . . . under the provisions of this chapter......

This Notice of Demand for Forfeiture includes but is not limited to the following:

   1. Canik model TP9SF 9mm pistol, bearing serial number T6472-21 AT 08835; and
   2. Any and all firearms, ammunition, and/or accessories involved in or used in the
      commission of the criminal offenses.




                                               FOREPERSON OF THE GRAND JURY




       JAIME ESPARZA
       UNITED STATES ATTORNEY


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       Assistant United States Attorney




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